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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 RAJANI T. DEOTARE, and
 CHANDANI V. PATEL,
                     Plaintiffs,
       v.                                            1:17-cv-699-WSD
 WELLS FARGO BANK, N.A.,
                     Defendant.


                             OPINION AND ORDER

      This matter is before the Court on Defendant Wells Fargo Bank, N.A.’s

(“Wells Fargo”) Motion to Dismiss Plaintiffs’ First Amended Complaint [15];

Plaintiffs Rajani T. Deotare, and Chandani V. Patel’s (“Plaintiffs”) Motion to File

Excess Pages [19]; and Plaintiffs’ Motion to Strike Wells Fargo’s Reply Brief [22].

I.    BACKGROUND

      A.     Facts

      Plaintiffs allege that on or about November 8, 2014, Niveda Dave

(“Ms. Dave”) borrowed $350,000 from Plaintiffs to purchase property at a tax

foreclosure sale. (Amended Complaint [13] (“Compl.”) ¶ 9). In return for the

$350,000, Ms. Dave executed a promissory note promising repayment of the

$350,000, with interest. (Id.).
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      On or about January 21, 2015, Plaintiffs received two checks drawn on

Ms. Dave’s Wells Fargo checking account, made payable to Plaintiff Deotare. (Id.

¶ 10). One was in the amount of $300,000 and the other in the amount of $65,000

(the “Checks”). (Id.). Later that day, Plaintiff Deotare deposited the Checks into

her account at Wells Fargo. (Id. ¶ 11). Plaintiffs allege that a Wells Fargo bank

teller told them that the Checks had cleared and the funds were available for

immediate withdrawal. (Id. ¶ 12). Based on this statement, Plaintiffs marked the

promissory note “Satisfied” and returned it to Ms. Dave. (Id. ¶ 14).

      On January 22, 2015, the day after the deposit was made, Plaintiff Deotare

attempted to make an online transfer of $365,000 to Plaintiff Patel’s account. (Id.

¶ 13). On January 23, 2015, without notice or explanation, Wells Fargo reversed

the deposit of the Checks by Plaintiff Deotare and re-credited the funds to

Ms. Dave’s account. (Id. ¶ 15). On January 26, 2015, Wells Fargo froze the

accounts Plaintiff Deotare used in the transfer from Ms. Dave and to Plaintiff Patel.

(Id. ¶ 16). After Wells Fargo re-credited the funds to Ms. Dave’s account, a

relative allegedly convinced Ms. Dave to transfer the re-credited funds to an

unidentified third party. Plaintiffs allege they have no recourse against Ms. Dave

because “she does not have any other assets to speak of.” (Id. ¶ 23). Plaintiffs




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allege that in March 2015, Wells Fargo permanently closed Plaintiffs’ and

Ms. Dave’s accounts. (Id. ¶ 22).

      The Amended Complaint alleges that upon Plaintiff Deotare’s inquiry, a

branch manager at a Wells Fargo location refused to explain why the Checks were

re-deposited into Ms. Dave’s account. Approximately one week after the Checks

were re-credited, Plaintiffs hand-delivered a letter to Wells Fargo demanding an

explanation of the re-deposit and demanding a refund of the amount of the Checks.

([13.1]). Wells Fargo did not respond to the letter.

      B.     Procedural History

      On January 23, 2017, Plaintiffs filed their “Tort & Damage Complaint” in

the Superior Court of Gwinnett County [1.1].

      On February 24, 2017, Wells Fargo removed the action to this Court

pursuant to 28 U.S.C. §§ 1332, 1441, and 1446 on the grounds that Plaintiffs and

Wells Fargo have complete diversity of citizenship, and the amount in controversy

exceeds $75,000.00 [1].

      On May 10, 2017, Plaintiffs filed their Amended Complaint [13], asserting

eighteen causes of action and five categories of damages against Wells Fargo. The

Amended Complaint asserts causes of action for breach of contract (Count I),

detrimental reliance and promissory estoppel (Count II), breach of the implied


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covenant of good faith (Count III), negligence (Count IV), conversion (Count V),

theft by conversion (Count VI), theft by deception (Count VII), constructive trust

(Count VIII), money had and received (Count IX), tortious interference with

contractual relations (Count X), breach of fiduciary duty (Count XI),

misrepresentation and fraud (Count XII), violation of the Georgia Fair Business

and Uniform Deceptive Trade Practices Act (Count XIII), violation of Georgia’s

Uniform Commercial Code (Count XIV), violation of the Expedited Funds

Availability Act, 12 U.S.C. § 4001 et seq., (Count XV), violation of the Electronic

Fund Transfer Act, 15 U.S.C. § 1693 et seq., (Count XVI), violation of Section 5

of the Federal Trade Commission Act, 15 U.S.C. § 45, (Count XVII), and

“miscellaneous” (Count XVIII).

      On May 24, 2017, Wells Fargo moved to dismiss the Amended Complaint

for failure to state a claim upon which relief can be granted [15]. In response,

Plaintiffs withdrew their claims for breach of fiduciary duty (Count XI), violation

of the Expedited Funds Availability Act (Count XV), violation of the Electronic

Fund Transfer Act and Regulation E (Count XVI), and violation of Section 5 of the

Federal Trade Commission Act (Count XVII).

      On June 26, 2017, Plaintiffs filed their Motion for Leave to file excess pages

in its response to Wells Fargo’s Motion to Dismiss [19]. That same day, Plaintiffs


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filed their Response to Wells Fargo’s Motion to Dismiss [20].

       On August 7, 2017, Plaintiffs filed their Motion to Strike portions of Wells

Fargo’s reply brief in support of its Motion to Dismiss [21].

II.    LEGAL STANDARD

       On a motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure, the Court must “assume that the factual allegations in the

complaint are true and give the plaintiffs the benefit of reasonable factual

inferences.” Wooten v. Quicken Loans, Inc., 626 F.3d 1187, 1196 (11th Cir.

2010). “‘[U]nwarranted deductions of fact’ are not admitted as true.” Aldana v.

Del Monte Fresh Produce, N.A., 416 F.3d 1242, 1248 (11th Cir. 2005) (quoting

S. Fla. Water Mgmt. Dist. v. Montalvo, 84 F.3d 402, 408 n.10 (11th Cir. 1996)).

The Court also is not required to accept conclusory allegations and legal

conclusions as true. See Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1290

(11th Cir. 2010) (construing Ashcroft v. Iqbal, 556 U.S. 662 (2009); Bell Atl.

Corp. v. Twombly, 550 U.S. 544 (2007)).

       “To survive a motion to dismiss, a complaint must contain sufficient factual

matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). Mere “labels and

conclusions” are insufficient. Twombly, 550 U.S. at 555. “A claim has facial


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plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.”

Iqbal, 556 U.S. at 678 (citing Twombly, 550 U.S. at 556). This requires more than

the “mere possibility of misconduct.” Am. Dental, 605 F.3d at 1290 (quoting

Iqbal, 556 U.S. at 679). The well-pled allegations must “nudge[] their claims

across the line from conceivable to plausible.” Id. at 1289 (quoting Twombly, 550

U.S. at 570).

III.   ANALYSIS

       A.       Pleading Standards

       Wells Fargo argues the Amended Complaint fails to comply with Rule 8(a)

of the Federal Rules of Civil Procedure, which requires “a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ.

P. 8(a). “Rule 8 marks a notable and generous departure from the hypertechnical,

code-pleading regime of a prior era, but it does not unlock the doors of discovery

for a plaintiff armed with nothing more than conclusions.” Ashcroft v. Iqbal, 556

U.S. 662, 678-79 (2009).

       So-called “shotgun pleadings” are disfavored in this circuit. See Davis v.

Coca-Cola Bottling Co. Consol., 516 F.3d 955, 979 (11th Cir. 2008); accord Byrne

v. Nezhat, 261 F.3d 1075, 1130 (11th Cir. 2001) (explaining that shotgun pleadings


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“wreak havoc on the judicial system”). One type of shotgun pleading is one

“replete with conclusory, vague, and immaterial facts not obviously connected to

any particular cause of action.” Weiland v. Palm Beach Cty. Sheriff’s Office, 792

F.3d 1313, 1322 (11th Cir. 2015). A complaint is also a shotgun pleading if it is

“disjointed, repetitive, disorganized and barely comprehensible.” Lampkin-Asam

v. Volusia County Sch. Bd., 261 Fed. App’x. 274, 276 (11th Cir. Jan. 9, 2008); see

also Benjamin v. Bank of Am., N.A., No. 1:11-CV-02037-JOF, 2012 WL

13008410, at *3 (N.D. Ga. Aug. 13, 2012) (“The portion of Plaintiff’s complaint

where she sets forth the ‘counts’ is nearly incomprehensible in that it block cuts

and pastes long passages from various Georgia statutes without alleging any facts

relevant to the instant controversy.”). The Eleventh Circuit has stated that, when

faced with a shotgun pleading, a district court should require the parties to file an

amended pleading rather than allow such a case to proceed to trial. Byrne, 261 F.

3d at 1129.

      The Amended Complaint asserts eighteen causes of action and relies on

numerous legal conclusions. The facts alleged are slight. Five of the eighteen

counts contain only one paragraph in support of the claim alleged. This “kitchen

sink” litigation strategy is not well viewed in our circuit, including because it

creates undue burden on the Court and unreasonably increases the expense of


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litigation. That Plaintiffs dismissed four of their eighteen claims after Wells

Fargo’s motion to dismiss was filed suggests that the Amended Complaint was

improperly pled originally. The Court will consider the fourteen claims remaining

in the Amended Complaint. If, however, it finds that any claim violated Plaintiffs’

obligations under Rule 11 of the Federal Rules of Civil Procedure, the Court may

seek appropriate sanctions.1

      B.     Criminal Statutes

      Plaintiffs assert a claim for “theft by deception” in Count VII of the

Amended Complaint. Georgia law does not recognize a civil cause of action for

theft by deception. See Kabir v. Statebridge Co., LLC, No. 1:11-CV-2747-WSD,

2011 WL 4500050, at *7 (N.D. Ga. Sept. 27, 2011) (holding that “Plaintiff cannot

allege a civil claim for theft by deception” because “O.C.G.A. § 16–8–3 does not

provide for a civil remedy and a civil remedy cannot be implied to arise from a

violation of that criminal statute”); Am. Gen. Life & Accident Ins. Co. v. Ward,

509 F. Supp. 2d 1324, 1330 (N.D. Ga. 2007) (same). Count IV is dismissed.

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       Plaintiffs Motion to File Excess Pages was filed in June 26, 2017, the same
day as their response brief. ([19]). Despite voluntarily dismissing four of their
claims, Plaintiffs sought to file a 39-page response to Wells Fargo’s 37-page
opening brief. While the Court would normally deny such an untimely and
extraordinary request, it reluctantly grants Plaintiffs’ motion and will consider the
entirety of Plaintiffs’ response.



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      Count VI asserts a claim for theft by conversion “by violating O.C.G.A.

§16-8-4 (b).” This is also a criminal statute that does not provide a private right of

action. O.C.G.A. § 16-8-4. Count VI is also dismissed.

      C.     The Account Agreement

      Plaintiffs allege in Count I that Wells Fargo breached its Consumer Account

Agreement (the “Account Agreement”). ([15.2]). Despite asserting a breach of

contract claim and quoting the relevant standards from the Account Agreement,

Plaintiffs did not attach the agreement to the Amended Complaint. Ordinarily, the

Court does not consider anything beyond the face of the complaint and documents

attached thereto when analyzing a motion to dismiss. Fin. Sec. Assur., Inc. v.

Stephens, Inc., 500 F.3d 1276, 1284 (11th Cir. 2007). The Court recognizes an

exception, however, in cases in which a plaintiff refers to a document in its

complaint, the document is central to its claim, its contents are not in dispute, and

the defendant attaches the document to its motion to dismiss. Harris v. Ivax Corp.,

182 F.3d 799, 802 n. 2 (11th Cir. 1999); Brooks v. Blue Cross & Blue Shield of

Fla., Inc., 116 F.3d 1364, 1368 69 (11th Cir. 1997). The Court may consider these

attachments in testing the Amended Complaint’s sufficiency without converting a

Rule 12(b) motion into a motion for summary judgment. Bryant v. Avado Brands,

Inc., 187 F.3d 1271, 1276-78 (11th Cir. 1999). Accordingly, in evaluating whether


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the Amended Complaint states a claim for breach of contract, the Court will

consider the Account Agreement attached to Wells Fargo’s Motion to Dismiss.

             1.     Choice of Law

      A district court sitting in diversity applies the choice-of-law rules of the state

in which it sits, in this case Georgia. Rando v. Gov’t Employees Ins. Co., 556 F.3d

1173, 1176 (11th Cir. 2009). “Georgia will honor choice of law provisions unless

no reasonable basis exists for doing so or, application of the chosen state’s law is

contrary to a fundamental policy of Georgia.” Bryan v. Hall Chem. Co., 993 F.2d

831, 834 (11th Cir. 1993); see also Convergys Corp v. Keener, 582 S.E.2d 84, 87

(Ga. 2003) (“Georgia courts will not apply chosen law which would contravene the

policy of, or would be prejudicial to the interests of this state.”); Carr v. Kupfer,

296 S.E.2d 560, 562 (Ga. 1982) (“Absent a contrary public policy, this court will

normally enforce a contractual choice of law clause.”).

      The Account Agreement contains a choice-of-law provision, which states:

      Your account is governed by the laws and regulations of the United
      States and, to the extent applicable, the laws of the state in which the
      office of the Bank that maintains your account is located (unless the
      Bank has notified you in writing that the laws of another state shall
      govern your account), without regard to conflicts of laws principles,
      or clearing house rules and the like. If you were not physically
      present at an office of the Bank when you opened your account (for
      example, if you opened your account by phone, through the mail, or
      over the Internet), your account will be governed by the laws of the
      state in which the main office of the Bank is located, unless the Bank

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      notifies you that your account has been assigned to a particular office
      of the Bank.

([15.2] at 37).

      Without expressly addressing which state’s law governs the Account

Agreement, the parties analyzed the sufficiency of Plaintiffs’ breach of contract

claim under Georgia law. The Amended Complaint indicates that Plaintiffs’

accounts were maintained in Georgia. Plaintiffs resided in Georgia during the

underlying events giving rise to their claims. A substantial part of the events

giving rise to Plaintiffs’ claims occurred in Georgia. (See Compl. ¶ 7, Ex. A).

Plaintiffs hand delivered a letter to the Wells Fargo branch located on Peachtree

Industrial Boulevard, in Chamblee, Georgia. (Compl. ¶ 17). While the record

does not clearly establish that Georgia law applies given the terms of the choice-of-

law provision, for purposes of this motion, the Court accepts the parties’

representations and analyzes the Account Agreement under Georgia law.

             2.    Breach of the Account Agreement

      Plaintiffs allege in Count I that Wells Fargo breached the standard of care

provided in the Account Agreement by returning the Checks without explanation,

causing them to incur damages. (Compl. ¶ 26). “The elements for a breach of

contract claim in Georgia are the (1) breach and the (2) resultant damages (3) to the

party who has the right to complain about the contract being broken.” Houghton v.

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Sacor Financial, Inc., 786 S.E.2d 903 (Ga. Ct. App. 2016) (internal citations

omitted).

      Whether Wells Fargo breached the Account Agreement turns on the duties

imposed by the agreement. The Account Agreement addresses the standard of care

required of Wells Fargo:

      The Bank will meet its standard of care for your account, provided the
      Bank exercises ordinary care in the transaction at issue. . . .
      “[O]rdinary care” does not require that the Bank examine the item. In
      all other cases, “ordinary care” requires only that the Bank follow
      standards that do not vary unreasonably from the general standards
      followed by similarly situated banks. The Bank’s policies and
      procedures are general internal guidelines and do not establish a
      higher standard of care for the Bank than is otherwise established by
      the laws governing your account. If the Bank waives any of its rights
      as to you or your account on one or more occasions, it will not be
      considered a waiver of the Bank’s rights on any other occasion.

([15.2] at 10).

      The Account Agreement contains several other relevant provisions which

Wells Fargo argues permit the actions alleged in the Amended Complaint. The

Account Agreement provides:

      “Freezing” your account

      As part of the Bank’s loss prevention program, when the Bank
      suspects that irregular, unauthorized, or unlawful activities may be
      involved with your account, the Bank may “freeze” (or place a hold
      on) the balance in your account (and in other accounts you maintain
      with the Bank) pending an investigation of such suspected activities.
      If the Bank freezes your account, the Bank will give any notice


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      required by the laws governing your account.
      ....
      Deposited items returned

      The Bank has the right to charge back to or otherwise debit any
      account(s) you maintain with the Bank for any deposited item that is
      returned (assess any associated fees and to reverse or recover any
      associated interest that may have accrued), even if you have made
      withdrawals against it.
      ....
      Closing your account

      You or the Bank may close your account at any time.
      ....
      Verification of transactions; right to reverse erroneous credits

      All transactions, including without limitation, those for which the
      Bank has provided a receipt, are subject to the Bank’s final
      verification. Verification of a deposit does not occur at the teller
      window. Consequently, the receipt that you receive at the time of
      your deposit is not evidence that your deposit has been verified. The
      Bank may reverse or otherwise adjust any credit it believes it has
      erroneously made to your account at any time without prior notice to
      you.

(Id. at 11, 16, 31, 34). Plaintiffs allege that Plaintiff Deotare went to a Wells Fargo

branch to deposit the Checks from Ms. Dave into her Wells Fargo account. When

Plaintiff Deotare deposited the checks, a Wells Fargo bank teller told her that the

Checks had cleared and were available for immediate withdrawal. Two days after

the deposit, Wells Fargo reversed the deposit and re-credited the funds to

Ms. Dave’s account without providing Plaintiffs with an explanation. Plaintiffs

alleged they incurred damages because they were unable to later recover the value


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of the Checks after the funds were returned to Ms. Dave. Despite Plaintiffs’

numerous requests for an explanation of the bank’s actions, Wells Fargo did not,

prior to litigation, offer an explanation as to how the Checks were processed.2

Despite the Account Agreement’s provisions regarding the return of deposited

items, these allegations state a claim for breach of the standard of ordinary care

provided in the Account Agreement. It is plausible, on the face of the Amended

Complaint, that Wells Fargo failed to exercise ordinary care in removing the

deposited funds from Plaintiff Deotare’s account without notice, especially when

Wells Fargo had the ability to freeze the funds and conduct an inquiry. Taking the

allegations of the Amended Complaint in the light most favorable to Plaintiffs,

Count I states a claim for breach of the Account Agreement.

      D.     Breach of the Implied Covenant of Good Faith

      Count III alleges a breach of the implied covenant of good faith. In Georgia,


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       In its Reply Brief, Wells Fargo asserts that “the checks were returned
because the signatures on the instruments did not match the account signature card
for Ms. Dave’s account.” ([21] at 4). This assertion, contained nowhere else in the
record before the Court, prompted Plaintiffs to file their “Motion to Strike” Wells
Fargo’s reply brief. ([22]). Plaintiffs argue that this assertion was the first time
that Wells Fargo provided a reason as to why the Checks were returned. The Court
grants Plaintiffs’ Motion to Strike insofar as the Court will not consider factual
assertions not made in the Amended Complaint or otherwise properly before the
Court on Wells Fargo’s Motion to Dismiss.



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“[e]very contract implies a covenant of good faith and fair dealing in the contract’s

performance and enforcement.” Myung Sung Presbyterian Church, Inc. v. N. Am.

Ass’n of Slavic Churches & Ministries, Inc., 662 S.E.2d 745, 748 (Ga. Ct. App.

2008). This implied covenant cannot be breached independently of “the contract

provisions it modifies.” Id. As the Eleventh Circuit has explained:

      [The implied covenant of good faith and fair dealing] is a doctrine that
      modifies the meaning of all explicit terms in a contract, preventing a
      breach of those explicit terms de facto when performance is
      maintained de jure. But it is not an undertaking that can be breached
      apart from those terms.

Alan’s of Atlanta, Inc. v. Minolta Corp., 903 F.2d 1414, 1429 (11th Cir. 1990)

(citations omitted). Thus, to state a claim for breach of the implied duty of good

faith and fair dealing, “a plaintiff must set forth facts showing a breach of an actual

term of an agreement.” Am. Casual Dining, LP v. Moe’s Sw. Grill, LLC, 426

F.Supp.2d 1356, 1370 (N.D. Ga. 2006) (citations omitted).

      Plaintiffs’ cause of action for breach of the implied covenant is separate and

distinct from their breach of contract claim and may be pled simultaneously. See,

e.g., TechBios, Inc. v. Champagne, 688 S.E.2d 378, 381 (Ga. Ct. App. 2009)

(denying motion to dismiss plaintiff’s claim for breach of the implied covenant of

good faith and fair dealing after finding that plaintiff had stated a claim for breach

of contract). As found above, Plaintiffs have adequately set forth a claim for



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breach of contract, and therefore state a claim for breach of the implied covenant of

good faith. Wells Fargo’s motion to dismiss is denied as to Count III.

      E.     Detrimental Reliance and Promissory Estoppel3

      Count II alleges that Plaintiffs are entitled to recover from Wells Fargo on

theories of promissory estoppel and detrimental reliance. Under Georgia law, the

elements of promissory estoppel are: “the defendant made a promise upon which

he reasonably should have expected the plaintiff to rely, the plaintiff relied on the

promise to his detriment, and injustice can be avoided only by enforcing the

promise because the plaintiff forwent a valuable right.” Mbigi v. Wells Fargo

Home Mortg., 785 S.E.2d 8, 20 (Ga. Ct. App. 2016) (citation and quotations

omitted); see also O.C.G.A. § 13–3–44.

      Count II of the Amended Complaint states, in its entirety, “Alternatively,

and or additionally, Plaintiffs are entitled to recover from Defendant based on

principles such as promissory estoppel and detrimental reliance.” (Compl. ¶ 32).

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       Regarding Plaintiffs’ tort claims, Georgia applies the substantive law of the
place where the tort or wrong occurred, which is “the last place where the last
event occurred necessary to make an actor liable.” Int’l Bus. Machs. Corp. v.
Kemp, 536 S.E.2d 303, 306 (2000); see also Fed. Ins. Co. v. Nat’l Distrib. Co.,
Inc., 417 S.E.2d 671, 673 (Ga. Ct. App. 1992). Here, Plaintiffs resided in Georgia
at the time of the alleged wrongdoing and the harms were suffered in Georgia.
Therefore, Georgia law governs Plaintiffs’ non-contractual claims.




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This unsupported conclusion does not state facts from which the Court may find

that Plaintiffs state a claim for promissory estoppel. Count II is therefore

dismissed.

      F.     Negligence

      Count IV of the Amended Complaint alleges negligence. The elements of a

cause of action for negligence in Georgia are: “(1) A legal duty to conform to a

standard of conduct raised by the law for the protection of others against

unreasonable risk of harm; (2) a breach of this standard; (3) a legally attributable

causal connection between the conduct and the resulting injury; and, (4) some loss

or damage flowing to the plaintiff’s legally protected interest as a result of the

alleged breach of the legal duty.” Politzer v. Xiaoyan, 801 S.E.2d 114, 115 (Ga.

Ct. App. 2017) (citations omitted).

      Plaintiffs allege “Defendant’s misfeasance arose in the context of the (non)

performance of its contractual duties. And one or more of those duties arose

independent of any contract between Plaintiffs and Defendant.” (Compl. ¶ 42).

Under Georgia law, a defendant’s failure to perform a contractual duty cannot

serve as the basis for a negligence claim. Traina Enters., Inc. v. RaceTrac

Petroleum, Inc., 525 S.E.2d 712, 714 (Ga. Ct. App. 1999). Plaintiffs cannot assert

a breach of the common law duty of ordinary care based on their allegations that


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Wells Fargo breached the standard of care provided in the Account Agreement.

See Ceasar v. Wells Fargo Bank, N.A., 744 S.E.2d 369, 373 (Ga. Ct. App. 2013);

WESI, LLC v. Compass Envtl., Inc., 509 F. Supp. 2d 1353, 1361 (N.D. Ga. 2007)

(“A breach of contract does not, by itself, give rise to a cause of action in tort; and

when the allegation that a tort was committed adds nothing of substance to the

breach of contract claim, it is mere surplusage.”) (citing Faircloth v. A.L. Williams

& Assocs., Inc., 426 S.E.2d 601 (Ga. Ct. App. 1992)).

      The Amended Complaint does not establish that Wells Fargo owed Plaintiffs

a legal duty outside of their contractual relationship. Plaintiffs quote the general

standard for common law negligence but do not identify any non-contractual legal

duty that Wells Fargo violated by re-crediting the Checks and closing their

accounts. See Commercial Bank & Trust Co. v. Buford, 243 S.E.2d 637, 638-39

(Ga. Ct. App. 1978) (rejecting claim that bank breached a legal duty by initiating

foreclosure proceedings; noting that “the only relationship between [the borrower]

and the bank was that which arose out of the note and security deed.”); Holmes v.

Wells Fargo Bank, N.A., No. 114-cv-00626-JEC-GGB, 2014 WL 12199986, at *3

(N.D. Ga. Aug. 12, 2014) (rejecting claim against bank for negligent loan

servicing, stating that plaintiff “ha[d] not established that any of the Defendants

owed him a legal duty outside of the contractual relationship”). Count IV fails to


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state a claim for negligence and is therefore dismissed.

      G.     Conversion

      Count V asserts a claim for the tort of conversion. To establish a claim for

conversion under Georgia law, a party must demonstrate “an unauthorized

assumption and exercise of the right of ownership over personal property

belonging to another, in hostility to his rights; an act of dominion over the personal

property of another inconsistent with his rights; or an unauthorized appropriation.”

Capital Fin. Servs. Group, Inc. v. Hummel, 721 S.E.2d 108, (Ga. Ct. App. 2011)

(citing J. Kinson Cook of Ga., Inc. v. Heery/Mitchell, 644 S.E.2d 440 (Ga. Ct.

App. 2007)). The Amended Complaint does not allege that Wells Fargo remained

in possession of Plaintiffs’ funds at any time. Plaintiffs merely allege that Wells

Fargo reversed the Checks and credited the funds back to Ms. Dave’s account.

Plaintiffs’ conversion claim must fail for this reason. “Where there is no evidence

that the defendant possesses any of the funds or items allegedly converted, an

action for conversion must fail.” J. Kinson Cook of Georgia, Inc. v.

Heery/Mitchell, 644 S.E.2d 440, 447 (Ga. Ct. App. 2007). Count V fails to state a

claim for conversion and is therefore dismissed.

      H.     Constructive Trust

      Count VIII of the Amended Complaint asserts that Plaintiffs are entitled to a


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constructive trust. “[A] constructive trust is a remedy created by a court in equity

to prevent unjust enrichment. Such a trust is impressed upon property when it is

against equity that the person holding title to the property be allowed to enjoy the

beneficial interest in the property.” GMRI, Inc. v. Indep. Bank of Georgia, 212

F. Supp. 3d 1306, 1313–14 (N.D. Ga. 2016) (quoting Vinings Bank v. Brasfield &

Gorrie, LLC, 759 S.E.2d 886 (Ga. Ct. App. 2014)). “Constructive trust is a

remedy, not a cause of action.” Id. “[W]hen the property in question is money as

in this case, it must comprise an identifiable fund to support an action for

conversion.” Id. at 1314 (citing Levenson v. Word, 668 S.E.2d 763 (Ga. Ct. App.

2008)). Here, Plaintiffs’ request for a constructive trust fails because Wells Fargo

no longer has possession of the funds at issue. Plaintiffs allege that Ms. Dave

transferred those funds to an unknown individual. (Compl. ¶ 23). Count VIII

alleging entitlement to a constructive trust fails to state a cause of action and is

therefore dismissed.4



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       Plaintiffs’ claim for “money had and received” must also be dismissed
because Wells Fargo did not maintain possession of the funds at issue. In Georgia,
a claim for money had and received “is comprised of the following elements: a
person has received money of the other that in equity and good conscience he
should not be permitted to keep; demand for repayment has been made; and the
demand was refused.” Cappuccitti v. DirecTV, Inc., 623 F.3d 1118, 1127 (11th
Cir. 2010) (quoting Fernandez v. WebSingularity, Inc., 681 S.E.2d 717, 721 (Ga.


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      I.     Tortious Interference with Business Relations

      Count X alleges a claim for “tortuous interference with business relations.”

To prevail on a claim for tortious interference with contractual relations, a claimant

must show the defendant (1) acted improperly and without privilege, (2) acted

purposefully and with malice with the intent to injure, (3) caused a party or third

parties to discontinue or fail to enter into an anticipated business relationship with

the plaintiff, and (4) by tortious conduct proximately caused damage to the

plaintiff. Sowell v. Blackman, 512 S.E.2d 713, 716 (Ga. Ct. App. 1999).

      Here, there is no allegation that Wells Fargo had any involvement with the

business relationship between Plaintiffs and Ms. Dave. A relative of Ms. Dave, not

Wells Fargo, convinced her to transfer the funds to an unknown third-party.

(Compl. ¶ 23). There is no factual assertion suggesting that Wells Fargo acted

with malice or intended to injure Plaintiffs. All that is alleged is that Wells Fargo

froze access to the deposited funds, froze Plaintiffs’ accounts, and returned the

deposited funds to Ms. Dave. Plaintiffs do not allege that Wells Fargo knew that

the funds were the result of a contractual or business relationship, much less allege

Ct. App. 2009). Because Plaintiffs cannot establish the first element, Count IX is
dismissed.




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facts even tending to establish that Wells Fargo acted “purposefully and with

malice with intent to injure” that contractual or business relationship. See Ziemba

v. Am. Home Mortg. Servicing, Inc., No. 1:10-CV-02781-RWS, 2011 WL

3420646, *5 (N.D. Ga. Aug. 4. 2011). Count X is dismissed.

      J.     Misrepresentation and Fraud

      Count XII alleges a claim for fraud. Under Georgia law, “the tort of fraud

consists of five elements: (1) false representation by defendant; (2) scienter;

(3) intent to induce the plaintiff to act or refrain from acting; (4) justifiable reliance

by the plaintiff; and (5) damage to the plaintiff.” Smith-Tyler v. Bank of Am.,

N.A., 992 F. Supp. 2d 1277, 1282 (N.D. Ga. 2014) (quoting Next Century

Commc’ns Corp. v. Ellis, 318 F.3d 1023, 1027 (11th Cir. 2003) (internal quotation

marks omitted)). Rule 9(b) of the Federal Rules of Civil Procedure imposes a

heightened pleading requirement to state a claim for fraud. Rule 9(b) requires that,

“[i]n all averments of fraud or mistake, the circumstances constituting fraud or

mistake shall be stated with particularity.” Fed. R. Civ. P. 9(b). “The rule requires

this particularity in order to alert defendants to the precise misconduct with which

they are charged and to protect defendants against spurious charges of immoral and

fraudulent behavior.” Wagner v. First Horizon Pharm. Corp., 464 F.3d 1273, 1277

(11th Cir. 2006) (citing Durham v. Bus. Mgmt. Assocs., 847 F.2d 1505, 1511 (11th


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Cir. 1986)).

      The Amended Complaint contains no allegations regarding either scienter or

intent, much less particularized facts establishing those elements. Count XII is

dismissed.

      K.       Violation of the Georgia Fair Business Practices Act and
               Georgia’s Uniform Deceptive Trade Practices Act

      Plaintiffs allege in Count XIII that Wells Fargo violated the Georgia Fair

Business Practices Act (“FBPA”) and the Georgia Deceptive Trade Practices Act

(“UDTPA”). Georgia’s FBPA prohibits any “[u]nfair or deceptive acts or

practices in the conduct of consumer transactions and consumer acts or practices in

trade or commerce.” O.C.G.A. § 10-1-393(a). The FBPA further provides that the

FBPA shall not “apply to . . . [a]ctions or transactions specifically authorized under

laws administered by or rules and regulations promulgated by any regulatory

agency of this state or the United States.” O.C.G.A. § 10-1-396(1). The Court of

Appeals of Georgia has observed that “[t]he General Assembly intended that the

Georgia FBPA have a restricted application only to the unregulated consumer

marketplace and that FBPA not apply in regulated areas of activity, because

regulatory agencies provide protection or the ability to protect against the known

evils in the area of the agency’s expertise.” Chancellor v. Gateway Lincoln-

Mercury, Inc., 502 S.E.2d 799, 805 (Ga. Ct. App. 1998).

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      The FBPA does not apply in extensively regulated areas of the marketplace

such as consumer banking. See Taylor v. Bear Stearns & Co., 572 F.Supp. 667,

675 (N.D. Ga. 1983) (holding allegations of unauthorized trades or churning not

cognizable under FBPA); Chancellor v. Gateway Lincoln–Mercury, Inc., 502

S.E.2d 799 (Ga. Ct. App. 1998) (“area of finance charges, disclosure, and truth in

lending falls outside the FBPA, except where expressly covered”); Ferguson v.

United Ins. Co. of Am., 293 S.E.2d 736 (Ga. Ct. App. 1982) (“[I]nsurance

transactions are among those types of transactions which are exempt from the Fair

Business Practices Act.”).

      Rather than the FBPA, the Georgia Uniform Commercial Code, O.C.G.A.

§§ 11-1-101 et seq., (“UCC”) expressly regulates Wells Fargo’s actions and

obligations with regard to the transactions at issue in the Amended Complaint.

The Georgia UCC provides:

      If a collecting bank has made provisional settlement with its customer
      for an item and fails by reason of dishonor, suspension of payments
      by a bank, or otherwise to receive settlement for the item which is or
      becomes final, the bank may revoke the settlement given by it, charge
      back the amount of any credit given for the item to its customer’s
      account, or obtain refund from its customer, whether or not it is able
      to return the item.

O.C.G.A. § 11-4-214. Thus, the conduct involving the return of the Checks is

regulated by the Georgia UCC and is not the FBPA, which applies “only to the



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unregulated consumer marketplace.” Brogdon ex rel. Cline v. Nat’l Healthcare

Corp., 103 F. Supp. 2d 1322, 1336 (N.D. Ga. 2000).

      Plaintiffs also allege in Count XIII that Wells Fargo committed unfair and

deceptive trade practices in violation of the UDTPA. The Eleventh Circuit Court

of Appeals has interpreted Georgia’s UDTPA as having commercial, rather than

consumer, application. Kason Industries, Inc. v. Component Hardware Group,

Inc., 120 F.3d 1199, 1204 (11th Cir. 1997) (“[I]t is clear to us that the FBPA is

significantly different from the UDTPA and the Lanham Act, because of the

former statute’s focus on the consumer (as opposed to the commercial)

marketplace.”); see also Robinson v. Bank of Am. Home Mortg., No. 1:14-CV-

3428-HLM, 2014 WL 12465447, at *6 (N.D. Ga. Nov. 19, 2014) (“Plaintiff is a

consumer and therefore does not have a viable claim under the UDTPA.”).

Plaintiffs here are consumers and therefore have no viable UDTPA claim. Count

XIII is dismissed.

      L.     Violations of Georgia’s Uniform Commercial Code

      Plaintiffs allege in Count XVII that Wells Fargo failed to give proper notice

of the returned Checks in violation of Section 11-4-214 of Georgia’s UCC. That

section gives a bank the right under certain conditions to revoke a “settlement”

given to a customer with respect to an “item,” to charge back to a customer’s


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account the amount of any credit given for an item, and the right to obtain a refund

from its customer “if by its midnight deadline or within a longer reasonable time

after it learns the facts it returns the item or sends notification of the facts.”

O.C.G.A. § 11-4-214 (a); see also O.C.G.A. § 11-4-302 (requiring notice of

dishonor). The Amended Complaint states that Wells Fargo never gave Plaintiffs

any notice of the facts underlying the reversal of the Checks, even after several

phone calls, visits, and a letter sent to Wells Fargo.

       The requirements of the Georgia UCC are default provisions that may be

altered by contract. The Georgia UCC provides:

       The effect of provisions of Titles 1 through 10 of this article may be
       varied by agreement, except as otherwise provided in Titles 1 through
       10 of this article and except that the obligations of good faith,
       diligence, reasonableness and care prescribed by Titles 1 through 10
       of this article may not be disclaimed by agreement but the parties may
       by agreement determine the standards by which the performance of
       such obligations is to be measured if such standards are not manifestly
       unreasonable.

O.C.G.A. § 1–102(3). The Account Agreement provides that Wells Fargo “has the

right to charge back to or otherwise debit any account(s) you maintain with the

Bank for any deposited item that is returned . . . even if [Plaintiffs] have made

withdrawals against it.” ([15.2] at 16). The Account Agreement eliminates

Plaintiffs’ right to notice:

       This right of charge back or debit is not affected by the expiration of

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      any applicable midnight deadline, provided the Bank does not have
      actual knowledge that such deadline has expired or, having such
      knowledge, the Bank concludes that . . . [t]he deposited item is
      returned in accordance with the laws governing your account . . .
      The Bank need not give you any prior notification of its actions with
      respect to the claim.

Id. The Account Agreement is a permitted modification of the Georgia UCC’s

default rules regulating Wells Fargo’s conduct with respect to the transactions at

issue. The Georgia UCC thus does not provide grounds for a separate cause of

action. The Amended Complaint fails to state a claim under the Georgia UCC and

Count XVII is dismissed.5

IV.   ORDER TO SHOW CAUSE

      An attorney who presents to the Court any paper, motion, or pleading

certifies that “to the best of the person’s knowledge, information, and belief,

formed after an inquiry reasonable under the circumstances” that there is

“evidentiary support” for any allegations or factual contentions. Fed. R. Civ. P.

11(b)(3). Rule 11 sanctions are proper:

      (1) when a party files a pleading that has no reasonable factual basis;
      (2) when the party files a pleading that is based on a legal theory that

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       Count XVIII of the Amended Complaint entitled “Miscellaneous” does not
set forth a plausible cause of action or connect facts to any allegations and
therefore does not set forth a claim upon which relief can be granted. Count XVIII
is dismissed.



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      has no reasonable chance of success and that cannot be advanced as a
      reasonable argument to change existing law; and (3) when the party
      files a pleading in bad faith for an improper purpose.

Worldwide Primates, Inc. v. McGreal, 87 F.3d 1252, 1254 (11th Cir. 1996)

(quoting Jones v. International Riding Helmets, Ltd., 49 F.3d 692, 694 (11th Cir.

1995)). Rule 11 provides that the district court, on its own initiative, may require a

party to “show cause” why its conduct has not violated Rule 11(b). Fed. R. Civ. P.

11(c)(3). Imposing sanctions pursuant to Rule 11 is committed to the district

court’s discretion. See Attwood v. Singletary, 105 F.3d 610, 612 (11th Cir. 1997).

Before sanctions are imposed, however, due process requires notice and an

opportunity to respond. Id. at 613; see also Fed. R. Civ. P. 11(c).

      Plaintiffs assert a claim for theft by conversion in Count VI and theft by

deception in Count VII. As noted above, these are criminal statutes that do not

confer a civil cause of action in Georgia. Plaintiffs also brought a claim for

violation of the Federal Trade Commission Act (Count XVII), even though it is

well-settled that there is no private right of action under that statute. See Jeter v.

Credit Bureau, Inc., 760 F.2d 1168, 1174 n.5 (11th Cir. 1985) (“Most importantly,

consumers were given a private right of action to enforce the provisions of the

FDCPA against debt collectors, 15 U.S.C.A. § 1692k, a right which does not exist

under the FTC Act.”); Valet Apartment Servs., Inc. v. Atlanta Journal and



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Constitution, 865 F.Supp. 828, 833 (N.D. Ga. 1994). Count XVII was later

voluntarily withdrawn by Plaintiffs in response to Wells Fargo’s motion to dismiss.

Plaintiffs also withdrew their claim for breach of fiduciary duty (Count XI). Under

Georgia law, there is no fiduciary relationship between a bank and its customers.

Gilliard v. Fulton Fed. Sav. & Loan Ass’n, 356 S.E.2d 734, 735 (Ga. Ct. App.

1987); Big Bend Agri-Svcs. v. Bank of Meigs, 330 S.E.2d 422 (Ga. Ct. App.

1985).

      The above deficiencies in the Amended Complaint should have been readily

apparent to any attorney conducting basic legal and factual due diligence before

filing a complaint. The Court therefore orders Plaintiffs’ counsel to show cause

why he should not be sanctioned for filing claims in the Amended Complaint that

do not have a basis in law and were required to be dismissed. In complying with

this Order, Plaintiffs must describe the actions, research, and investigation taken

before filing the Amended Complaint, including the basis for Plaintiffs’ and their

counsel’s decision to assert Counts VI, VII, XI, and XVII.

V.    CONCLUSION

      For the foregoing reasons,

      IT IS HEREBY ORDERED that Wells Fargo, N.A.’s Motion to Dismiss

[15] is GRANTED in part and DENIED in part. It is DENIED with respect to


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Counts I and III of the Amended Complaint. It is GRANTED as to the remaining

counts.

      IT IS FURTHER ORDERED that Plaintiffs Rajani T. Deotare, and

Chandani V. Patel’s Motion to File Excess Pages [19] is GRANTED.

      IT IS FURTHER ORDERED that Plaintiffs’ Motion to Strike Wells

Fargo’s Reply Brief [22] is GRANTED in part.

      IT IS FURTHER ORDERED that Plaintiffs should show cause before

April 20, 2018, why they should not be sanctioned pursuant to Rule 11 of the

Federal Rules of Civil Procedure.



      SO ORDERED this 26th day of March, 2018.




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